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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                       *
                                                *
               v.                               *
                                                *
MICHAEL J. GURRY, RICHARD M.                    *      Criminal Action No. 16-cr-10343-ADB
SIMON, SUNRISE LEE, JOSEPH A.                   *
ROWAN, and JOHN KAPOOR,                         *
                                                *
               Defendants.                      *

                      MEMORANDUM AND ORDER ON
               DEFENDANT SUNRISE LEE’S MOTION FOR MISTRIAL

BURROUGHS, D.J.

       On September 11, 2018, a grand jury returned the Second Superseding Indictment

(“SSI”) against Michael Babich, Alec Burlakoff, Michael Gurry, Richard Simon, Sunrise Lee,

Joseph Rowan, and John Kapoor, charging them with engaging in a racketeering conspiracy in

violation of 18 U.S.C. § 1962(d). [ECF No. 419]. Trial on the charges against Defendants

Michael Gurry, Richard Simon, Sunrise Lee, Joseph Rowan, and John Kapoor (collectively,

“Defendants”) began on January 28, 2019. [ECF No. 703]. On March 1, 2019, counsel for Ms.

Lee made an oral motion for a mistrial, which was supplemented by a written motion (“Motion

for Mistrial”). [ECF No. 765]. For the following reasons, which are consistent with the reasons

stated by this Court on March 1, 2019, and again on March 5, 2019, the Motion for Mistrial is

DENIED.

I.     BACKGROUND

       On March 1, 2019, during direct examination of witness Alec Burlakoff, the Government

sought to admit a document marked for identification as Exhibit 664, which was an email

discussing Ms. Lee that was sent to Mr. Babich under a pseudonym (“Exhibit 664” or “the
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Exhibit”). Trial Tr. Mar. 1, 2019, 197:2–10. The email purported to provide links to websites

showing Ms. Lee’s involvement with an escort service. Id. at 197:25–198:2. Counsel for Ms.

Lee objected to the admission of the document and requested a sidebar. Id. at 197:11–15.

       At sidebar, the Government argued that the document was relevant and “highly

probative” because Mr. Babich and Mr. Burlakoff discussed Exhibit 664, concluded that the

information on Ms. Lee’s resume was inconsistent with the information provided in Exhibit 664,

and discussed the information with Dr. Kapoor. Id. at 197:24–198:9. Counsel for Ms. Lee

argued that Exhibit 664 was “highly inflammatory,” “not probative of anything at all,” and

“meant to slander Ms. Lee.” Id. at 198:10–12. He added that Mr. Babich had investigated the

email at the time and discovered that the likely person behind the pseudonym was Ms. Lee’s ex-

boyfriend. Id. at 198:15–19. The Court prohibited Exhibit 664 from being admitted on the

ground that it was inflammatory, id. at 200:5–8, but ruled that the Government could ask the

witness about inaccuracies that may have been on Ms. Lee’s resume and about the corporate

culture at Insys to the extent relevant to Insys’ decision to hire Ms. Lee and reasons why Insys

might choose to hire an individual not qualified for the job, id. at 199:22–24, 200:2–3.

       The direct examination resumed, and the Government asked Mr. Burlakoff, over the

Defendants’ objection, whether Mr. Babich had received salacious information about Ms. Lee.

Id. at 200:17–24. The Court struck the Government’s follow-up question about whether Mr.

Babich was provided information that Ms. Lee was running an escort service and convened a

second sidebar. Id. at 201:7–14. At sidebar, the Court provided further clarification and

specifically identified what information the Government could reference on direct examination

as relevant to the issues being tried and not unduly prejudicial. See id. at 201:16–23. The Court

reiterated that Exhibit 664 would not be admitted but that the Government was permitted to




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question Mr. Burlakoff about information contained in the Exhibit in light of his earlier

testimony. Id. at 202:20–22.

          Still at sidebar, counsel for Ms. Lee renewed his objection that the information was not

admissible because it was unfairly prejudicial. Id. at 203:12–15 (“It’s a smear campaign by

somebody with a grudge . . . It’s not admissible. It’s 403.”), 204:9–12 (stating that any relevance

“does not in any way outweigh the prejudice to her”). The Government argued that the

information was relevant because it showed notice to executives at Insys and demonstrated that

Ms. Lee was unqualified to hold her position. Id. at 204:2–8. The Court allowed limited

testimony on the basis of notice but not for the truth and reiterated the relevance of the

testimony. See id. at 202:22–24; see also 204:15–16 (“If [Insys] hired her and they keep [Ms.

Lee] on because of this skill set, it’s relevant.”), 205:10–14 (“There’s no evidence whether it’s

credible or not. If they have a discussion about it and . . . whether it’s true or not, Mr. Kapoor

says I don’t care what [Ms. Lee] does as long as she can sell my drug, that’s relevant.”); 207:1–5

(providing limiting instruction). The Court instructed the Government “to keep the salacious

aspect to an absolute minimum.” Id. at 206:3–9.

          Ms. Lee’s counsel requested a limiting instruction focusing on the hearsay. Id. at

206:10–12. Once back before the jury, the Court gave a limiting instruction that strongly

emphasized that the jury should only consider the information from Exhibit 664 for the effect it

may have had on the company and not for the truth. 1 Id. at 206:16–207:21. The Court offered to



1
    The full text of the limiting instruction was as follows:

          I think you’re about to hear testimony to the effect that the company got some
          information about Ms. Lee that suggested that she might not be qualified for the
          job. They did some investigation on that, and then you’ll hear testimony to that
          effect. But the letter that they received is anonymized, to a certain extent. The
          letter does not -- and I cannot emphasize this strongly enough -- does not come in


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renew the instruction at the request of counsel if it became necessary during the course of the

testimony. Id. at 207:14–15.

       Mr. Burlakoff went on to testify that he met Ms. Lee in a strip club where she worked;

that Mr. Babich told him about an email he received about Ms. Lee; and that he, Mr. Babich, and

Ms. Lee investigated the email and concluded that it came from Ms. Lee’s ex-fiancé. Id. at

207:23–208:15. Mr. Burlakoff agreed that the email made disparaging remarks about Ms. Lee,

questioned her hiring, and provided the websites identified in the email for Mr. Babich to review.

Id. at 208:19–209:5. Mr. Burlakoff explained that, at Mr. Babich’s instruction, he visited one of

the websites and observed topless photos of Ms. Lee. Id. at 209:11–210:1. Finally, Mr.

Burlakoff testified that Mr. Babich brought this information to Dr. Kapoor, who allowed Ms. Lee

to remain at Insys because of her success to-date but required that she take the photos down. Id.

at 210:3–22.

       At the conclusion of direct examination for the day, counsel for Ms. Lee moved for a

mistrial “based on admission of the salacious evidence.” Id. at 218:12–17. Specifically, counsel

for Ms. Lee argued that admission of the evidence “was done for the purpose of prejudicing

[Lee]” and “was the subject of pretrial motions in limine and a motion for severance.” Id. at



       for the truth of the matter asserted. It comes in for the fact that the company gets
       this information and they take certain steps in response to the information. But the
       person that wrote -- I don’t even know that we know who wrote the letter. That
       person is certainly not here. They’re not testifying. There may be issues of bias.
       We don’t have any way to know if what they’re saying is true or not. You’re to
       consider this information only [for] the effect that [it] had on the company and
       what they did in response to receiving this information. . . . Obviously, the
       information contained in the letter is somewhat salacious, which is the kind of
       information that sticks in your head which is why I want to be so strong about this
       instruction. You cannot consider it for the truth of what’s alleged. You’re only to
       consider it for what actions the company takes in response.

Trial Tr. Mar. 1, 2019, 206:20–207:21.


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218:14–16. Further, he stated that he did not believe that the evidence would have been admitted

if Ms. Lee was on trial by herself, rather than being trial along with four other defendants. Id. at

218:16–17.

         The Court denied the motion from the bench, but granted leave to renew the motion in

writing. Id. at 218:20–22. In denying the oral motion from the bench, the Court stated:

         The company’s response to [the] information [in the e-mail] is relevant. It may
         well come in if [Ms. Lee] was tried alone because her qualifications for the job
         would also be at issue. . . . I think the way we handled it, the information came in
         in as unprejudicial a way as was warranted. So I thought that I tried to keep the
         inflammatory part of it down.

Id. at 218:23–219:5.

         Counsel for Ms. Lee submitted the pending Motion for Mistrial on March 3, 2019, which

raised the issue of propensity evidence for the first time. [ECF No. 765]. After reviewing the

briefing submitted, the Court again denied the request for a mistrial on March 5, 2019 and

offered to give an instruction on propensity evidence. Trial Tr. Mar. 5, 2019, 24:3–6. The Court

consulted with Defendants’ counsel about the content and timing of the instruction. Id. at 24:7–

25:4. The Court gave the jury an instruction before trial resumed that reiterated the

Government’s burden and explained that the jury may not consider propensity evidence. 2 Id. at

51:22–52:21.



2
    The full text of the limiting instruction was as follows:

         One other thing that I wanted to mention to you -- and this may go without
         saying, but it’s important, so I want to emphasize it. As we discussed before, for
         the Government to convict someone, they have to prove that that person
         committed the crime charged against them beyond a reasonable doubt and that
         requires them to prove each element of the offense beyond a reasonable doubt.
         You’re not allowed to consider what we call propensity evidence. And that
         means that if you don’t like someone or you don’t like their job or you don’t like
         something about what they’ve done or said, you can’t say because I don’t like this
         person or I don’t like their job, that makes it more likely that they committed this


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II.       DISCUSSION

          The decision to declare a mistrial rests within the trial court’s sound discretion. United

States v. De Jongh, 937 F.2d 1, 3 (1st Cir. 1991). “Declaring a mistrial,” however, “is a last

resort, only to be implemented if the taint [from improper evidence] is ineradicable . . . .” United

States v. Sepulveda, 15 F.3d 1161, 1184 (1st Cir. 1993). Where, as here, no improper evidence

came before the jury, there are no grounds for a mistrial, and the Motion for Mistrial must be

denied.

          A review of the trial transcript clearly indicates that no improper evidence was presented

to the jury. See Trial Tr. Mar. 1, 2019, 207:23–210:22. The relevance of Mr. Burlakoff’s

testimony related to Ms. Lee’s credentials and Insys’ hiring practices outweighed any prejudice

that may have stemmed from the permitted testimony, making the testimony admissible under

Rule 403. See Fed. R. Evid. 403. The only portion of Mr. Burlakoff’s testimony that could

conceivably be considered “salacious” concerns the topless photos of Ms. Lee. Id. at 209:11–

210:1. However, this testimony was not allowed in for the truth and was directly relevant to the

issue of notice and what information Mr. Babich presented to Dr. Kapoor. See id. at 210:3–22. 3



          offense. . . . [J]ust to give you an example. If someone admits to being a bank
          robber, that doesn’t make it more likely that they committed another crime.
          Okay? So you can’t consider propensity evidence. You have to focus on the
          elements of the offense and not think that just because there’s something that you
          like about someone, it made them less likely to do it, or because [there’s]
          something you don’t like about them, then it made them more likely to do it. You
          can’t consider that sort of evidence.

Trial Tr. Mar. 5, 2019, 51:22–52:21.
3
 Any prejudicial effect stemming from the testimony about Ms. Lee’s purported topless photos
was further reduced by the limiting and cautionary instructions, particularly the Court’s
admonition that propensity evidence was not to be considered. Trial Tr. Mar. 5, 2019, 51:22–
52:21.



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 In addition, the Court prohibited the Government from admitting Exhibit 664 into evidence on

 the grounds that the Exhibit as a whole was inflammatory and instructed the Government “to

 keep the salacious aspect to an absolute minimum.” Id. at 200:5–8, 202:20–22, 206:3–9.

 Finally, the Court was responsive to counsel’s requests for limiting and cautionary instructions

 and gave two strongly-worded instructions to the jury. See id. at 206:16–207:21; Trial Tr. Mar.

 5, 2019, 51:22–52:21. Thus, the evidence was properly before the jury and the Court’s

 limitations on how it was presented ensured that the probative value outweighed any danger of

 unfair prejudice. 4

III.     CONCLUSION

         Accordingly, for the foregoing reasons and as stated on the record, Defendant Lee’s

 Motion for Mistrial [ECF No. 765] is DENIED.

         SO ORDERED.

 March 15, 2019                                               /s/ Allison D. Burroughs
                                                              ALLISON D. BURROUGHS
                                                              U.S. DISTRICT JUDGE




 4
   Here, even assuming that evidence was improperly before the jury, the Court’s curative
 instructions were sufficient to mitigate any unfair prejudice. Under Sepulveda, when addressing
 a motion for mistrial based on a claim of improper evidence, trial courts have three tools to cure
 a defect stemming from improper evidence: striking the relevant testimony, giving a curative
 instruction, and, as a last resort, declaring a mistrial. See Sepulveda, 15 F.3d at 1184 (“When, as
 now, a motion to declare a mistrial has its genesis in a claim that improper evidence came before
 the jury, the court must first weigh the claim of impropriety and, if that claim is well founded,
 strike the offending evidence. Next, unless the court believes that the evidence is seriously
 prejudicial and that a curative instruction will be an insufficient antidote, the court should
 proceed with the trial after instructing the jury to disregard the evidence. Declaring a mistrial is
 a last resort, only to be implemented if the taint is ineradicable . . . .”).


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